Case 4:18-cv-00249-JED-FHM Document 3-1 Filed in USDC ND/OK on 05/09/18 Page 1 of 4




                               IN THE DISTRICT COURT O TULSA.:COUNTY                              „kg-87.71.
                                                STATE OF OKLAHOMA                                         "
                                                                                                          JAN    i.2011)
        NMOLE R.COWIN%
                                                                                                 OON
                                                     )                                           sl'Aig stWEHitiliY, Colin
                                                                                                        O ORA: TULSA Clerk
                              Plaintiff,             ) 'Case .                                                          Gainire

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              co                                     ) ATTOMY'LlVicLAIMED
       POTTI414.0..i0ROTJA 1.Z.0 •                   ) UTAY'TRIAL'REQUESTED
                                                     )
                         ..                ......                            • ....•••• :,• • • . . • ,   :•• • • •
                                                    PETW9N,
              COMES NOW,:Plaintiff Mole R. Collins, by and through her attorney of mord,

      Derek big6 olE, Terrill 'Uri.* & ASS6o1.4tes, u            Mei this PetitiOn. againit the loeflendints
      PepsiCo and/or llottling Group. LLC, and alleges as follows:

                                       r&RUKLERWACTIPtiANLYENUE
              1.      Plaintiff's an Individual residing in Tulsa, Tulsa County, Oklahoma,

              2,      Defendants are corporations doing husinoss in the State of.Oklaboma, County. of'



             3.       Defendant Is an employer and Plaintiff was an employee within the moaning of

      Oklahoma law,

             4.       The events giving riSe to thiS tiOtiOn odeUrred:in Tulm

             5,       The jurisdidiOn and,venue ofdila Courtia proper.,

             6,       Plaintiff filed a claim •Wiih the BEM 'and received her No e of Right to Stie on

      or about October 3O,,2017. This suit is.being filed within ninety(90) days of receiving the-Right
      o SUO Notioe,




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Case 4:18-cv-00249-JED-FHM Document 3-1 Filed in USDC ND/OK on 05/09/18 Page 2 of 4




                                                   13.144.gleg
               7.       ai.ntiff.bean her .cmpleyment with Defendant in December:of2005 and was
        tertninated on or about March:2:8, 2Ö17,

               8:,    Doring:her employmcnt,Plaintiff was subjeetcd to gender di witnination,:hostile

       work environment: and :harassment; Among many examples, Plaintiff was discouraged from
       heeinning pregnant or having       litrrillY while employed at Defendlint, Plaintiff was also
       terminated for her:gender and pregnancy.

              9.      Defendant also subjected Plaintiff to emotional distreas.
                           result ofthe: ille 1 AM .ortba.Dpf6tid   t, Plaintlffb entitled to,haek:Pay:ter:

       all lost wa s and benefits, front pay in lieu «reinstatement,'compensatory damages, punitive
      damages, preji.i rne.nt:and post:Judgment :interest : and::any: other:dartukges, :losses:.and :costs:

      appropriate under Oklahoma law.
              WBERBFORB„ Plaintiferays:for .4tqtinos in lexcesig, of:$75;900.00:and any other rolof:
      :thatthiSCOutt cleftsjuSt and proper;

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                                                     Tulsa, OK 741.0.446:10.
                                                   ():18) 7446641 - telephone
                                                   (91S)747-4921 - ffiQgt4h
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Case 4:18-cv-00249-JED-FHM Document 3-1 Filed in USDC ND/OK on 05/09/18 Page 3 of 4




                                            DISTRTCT CO'   OP TULSA COUNTY
                                               STATE.OF OKLAHOMA

        NIKOLB         COLLINS,                            )
                                                           )
                               Plaintiff,                  ) Ca0 No,:CS-20184)31.0
                                                           )
                                                           ) Judge Aebeeta Niglitengele.
                                                           )
       BOTTLING GROTJP,LLC                                 )
                                                           )
                               Dekg                        )

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        TO THE F0t,I,DWiND:NAM ED                             PepsiCo'Out:Virg Gpotip,.LLC
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                                                             :TuisaiOK::74107
                                                      ar'ariyWhere           'uw;ber found

                You have:been :sued by the above: named Plaintiff, and you are directed to: file a written Answer to the
       attached:petition In the:court:at the above address.wIthin twenty:CM) days after service 'of this:summons: upon you,
       exclusive of the day of service, Within the same time, a copy of your answer must'be delivered or mailed to the
       attorney for'the'pialntlff, Unless:you answer the petition within:the:time stated, Judgment will be rendered against you
       with costs of the action.
                If interrogatories and Request for Production of Docurnent$ are served with this Petttle!!, you are directed to
       answer the :Interrogatories and produce the d'ourrients requested within                     days after service of these
       Interrogatories and.Requestfor Production of Documents,.

                Issued this                 day. of         4:7     ,20.18.

                                                                  MU:A
         Attorney for Plaintiff:
        J.Derek Ingle, OBA # 16509                                            lYttailtt
         Boettcher, DeVInney, Ingle & WiCker
       2202 E,49t Street, Suite BOO
        Tulsa, OK 741f                                            AuthoNed-to.Servei' .                    rhyrirrrrrriern $$$$$I I IMA!

       (918)728.6500.Telephone                                    P5t,   oWNWAWNWVAWANNWAVINAWOMAV.11,1,

       (539)664-4129
                                                                  Authorized 8y:,....,.           ,,,,
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               day of _„,,„_,,„„,„,; 414,                                                                         thn


                                                            (Signature of person serving summons)
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       SUMMONS;
